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Date received by FFL Firearm Information Received from

05.12.2021 Finnish Mosin-Nagant, mode! Highland Guns
M39, 7.62X54, SN: 70127

06.09.2020 Saganov Steering Gear, M1 Global Firearms
Carbine, 30 calibers, SN:
3413204

06.09.2021 Browning, Superimposed f | Fincastle, VA
Pigeon Ga., 12ga Shotgun, SN:
56544

06.09.2021 Browning, Superimosed pigeon EE Fincastle, VA
Ga., 12g Shotgun, SN: 56545

06.15.2021 International Harvester Corp., 10x Gunsmiths
M1, 30-06 Rifle, SN: 5204599

06.11.2021 Colt, 1911 Combat Cmmander, | Shore Tactical
45Cal pistol, SN: 705C43006

06.21.2021 Springfield Armory, M1, 30-06 |
Rifle, SN: 2510235

06.21.2021 Springfield Armory, M1, 30-06 |______ =
Rifle, SN: 3566161

06.21.2021 Springfield Armory, M1, 30-06 P
Rifle, SN: 2210671

06.25.2021 Rockola, M1 Carbine, 30 BE Vissouri
Carbine, SN: 4555369

05.03.2021 Springfield Armory, M1 Garand | AAFT
30-03 Rifle, SN 6081780

05.03.2021 H&R, M1 Garand, 30-06 Rifle, Ulett
SN: 5620402

05.10.2021 Springfield Armory, Mi, .30M1_ | The Armory of Wilmont
Recever, SN: 434312

05.10.2021 Springfield Armory, Mi, .30M1_ | The Armory of Wilmont
Recever, SN: 1359680

05.102021 Rockola, M1 Carbine, 30M1 Eastern Branch Firearms
Carb. Rifle, SN: 1736245

04.15.2021 Inland MFG., M1, .30 M1 Rifle, Eastern Branch Firearms
SN: 6260207

04.29.2021 Springfield Armory, M1, 30-06 BE cieenboro, GA
Rifle, SN: 5450604

04.01.2021 FNH, Scar 175, 7.62x51, SN: ————— tl
HC16073 Goose Creek, SC

03.26.2021 Benilli, M4, 12G Shotgun, SN: Ee Bassett, VA
Y011962

03.26.2021 Finnish Springfield Armory, fF
M29, 7.62x54 Rifle, SN: 47185

03.08.2021 Benilli, M4, 12G Shotgun, SN: |[ Bowling |
Y130369Q20 Green, OH

03.01.2021 Benilli, M4, 12G Shotgun, SN:

 

Y119455N20

 

 
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rifle, serial number 3558864

 

02.26.2021 Norinco, SKS, 7.62x39 Rifle, SN: | Second Amendment Arms
24152902

02.26.2021 Norinco, SKS, 7.62x39 Rifle, SN: | Second Amendment Arms
241155918

02.26.2021 Norinco, SKS, 7.62x39 Rifle, Second Amendment Arms
SN:24147934

02.26.2021 Norinco, SKS, 7.62x39 Rifle, Second Amendment Arms
SN:24140362

02.05.2021 PSA, M16A4, 223/5.56 Rifle, SN: ee Pe. TX
20007305

02.05.2021 Colt, M4, 223 Rifle, SN: Amaritio, x |
CR707457

01.20.2021 PSA, PA-15, Multi Cal. Rifle, SN, | Shane's Firearms Dest.
LW09601

01.20.2021 PSA, PA-15, Multi Cal. Rifle, SN, | Shane's Firearms Dest.
LW09602

05.24.2021 Eddystone,1917, 30-06 Rifle, NE Guns & Parts
SN: 1290886

05.24.2021 Springfield Armory, M1, 30-06
Rifle, SN: 5794351

05.19.2021 Finnish Mosin-Nagent, M39, Highland Guns
7.62x54 Rifle, SN:253008

07.02.2021 Springfield Armory, M1, 30-06
rifle, serial number 530588

07.02.2021 Springfield Armory, M1, 30-06 Top Gun Shop
rifle, serial number 327048

07.02.2021 Springfield Armory, M1, 30-06 Anderson Ranch and Gun

 

 
